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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA




ALTURNAMATS, INC.                             )
a Pennsylvania corporation                    )
       Plaintiff                              )
                                              )
        Vs.                                   )       Civil Action No. 07-337 Erie
                                              )

GERALD HARRY                                  )
an individual, et al.,                        )
       Defendants                             )


                                            ORDER

                AND NOW, this 21st day of July, 2009, the Court having been advised

that the parties have reached an agreement upon a settlement in the above-captioned matter, IT IS

HEREBY ORDERED that this case is marked administratively closed. The parties should file a

Rule 41 Stipulation for dismissal with a one-page proposed order granting the stipulation. It

appears no further action is required by the Court at this time.




                                                        S/Sean J. McLaughlin
                                                      Sean J. McLaughlin,
                                                      United States District Judge



cc: all parties of record. nk
